       Case 3:20-cv-00092-BAJ-EWD             Document 259       08/04/23 Page 1 of 30




                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA

MCARTHUR GRIFFIN                                 §
                                                 §
       Plaintiff                                 §
                                                 § CIVIL ACTION NO.: 3:20-92-BAJ-EWD
                                                 §
       Versus                                    §
                                                 §
REC MARINE LOGISTICS LLC, ET AL.                 § TRIAL BY JURY DEMANDED
                                                 §
       Defendants                                §


     PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT REC MARINE
        LOGISTICS, LLC’S MOTION FOR NEW TRIAL OR REMITTITUR1


       Plaintiff, McArthur Griffin, files this Response in Opposition to REC Marine Logistics,

LLC (“REC Marine”) and Offshore Transport Services, LLC (“Offshore Transport”) (collectively,

“Defendants”) Motion for New Trial or Remittitur (“Defendants’ Motion”).

       With respect, there is no basis in fact for Defendants various positions. The five-day jury

trial was free of genuine appealable issues. Indeed, evidence, jury charges and jury interrogatories

were generally submitted without objection; opening statements and closing arguments were free

of objections (although counsel for Defendants was cautioned by the Court about making argument

during opening); and, there were very few objections during witness testimony. Nothing said or

done engendered passion, prejudice or improper juror behavior. As to the jury verdict, the decision

was unanimous and wholly consistent with the evidence. The overwhelming evidence supported

each of the findings made by the jury.




1
  As part of Defendants’ arguments overlap with those made in their Amended and Supplemental Motion
for Judgment as a Matter of Law Plaintiff incorporates his Amended and Supplemental Response to
Defendants Judgment as a Matter of Law herein.
       Case 3:20-cv-00092-BAJ-EWD                Document 259         08/04/23 Page 2 of 30




                           I.      GENERAL FACTUAL BACKGROUND

    A. THE INCIDENT

        In May 2018, Plaintiff suffered severe and significant injuries during a basket transfer

operation that took place on the M/V Dustin Danos where, inter alia: (a) there is no documented

Job Safety Analysis (“JSA”) (presumably because Captain Michael Haglund failed to do it and

REC Marine knowingly failed to enforce its policy that all JSA’s must be documented in writing);2

(b) Captain Haglund propelled the M/V Dustin Danos forward, stepped away from the controls,

stopped supervising the personnel basket transfer operation, and began using his cell phone;3 (c)

Captain Haglund left Plaintiff on his own during a high risk operation;4 (d) REC Marine and/or

Offshore Transport failed to enforce its no-cell phone policy or failed to have a policy altogether;5

(e) Defendants failed to ensure the crew was properly trained on policies and procedures designed

to keep people safe, including their own safety policies,6 conducting JSA’s,7 documenting JSA’s,8

and policies related to reporting incidents requiring medical attention.9 Plaintiff did his level best

to prevent others from getting hurt. See Trial Transcript Day 3 at 23:10-16.




2
  See Trial Transcript Day 3 at pgs. 119-22.
3
  See Trial Transcript Day 3 at pgs. 11-20, 23-24.
4
  Id at 23-24.
5
  See Trial Transcript Day 3 at pgs. 132-33 (Mr. Brian Harris (“Mr. Harris”) recanting his sworn testimony
that REC Marine had a no cell phone use policy for personnel operating vessels).
6
  See Trial Transcript Day 3 at pgs. 120-21 (Brian Harris, REC Marine’s Health, Safety, and Environmental
Manager testifying its written policy requiring JSA’s to be documented in writing and sent to him is just a
guideline that does not need to be followed).
7
  See Trial Transcript Day 2 at 307 (Commander Michael Lebsack (“Commander Lebsack”) discussing
REC Marine’s dangerous practice in relying on crewmembers to review non-existent, pre-printed JSA’s
that do not take any conditions into account).
8
  See Trial Transcript Day 3 at pgs. 119-22.
9
  See Trial Transcript Day 2 at 329 (Commander Lebsack discussing standard requiring companies to report
injuries to the U.S. Coast Guard within five days—which was not done here); see also Trial Transcript Day
3 125-26 (Mr. Harris confirming REC Marine’s written policy required Captain Haglund to complete a
written report documenting the Incident).
       Case 3:20-cv-00092-BAJ-EWD              Document 259        08/04/23 Page 3 of 30




       Immediately following the Incident, Plaintiff went to the wheelhouse to meet with Captain

Haglund to discuss what happened. See Trial Transcript Day 3 at 24:15-20. Mr. Badeaux

accompanied Plaintiff to the meeting. Id. At the meeting, Captain Haglund: (a) denied seeing the

Incident (presumably because he was on his phone at the time and did not want to get fired for his

mid-operation cellphone use); (b) refused to allow Plaintiff to complete a report and document the

Incident; (c) would not document the Incident himself; (c) minimized and disregarded the injuries

Plaintiff reported to him; and (d) told Plaintiff he could lose his job if they had to take him off the

vessel for treatment. Id. at 24:21-25:2; 125-26; 226:24.

       After the meeting, Plaintiff went to the galley to tend to his injuries, immediately

identifying and reporting shoulder and neck pain to another crewmember. See Trial Transcript Day

3 at 154:25-155:11 (Plaintiff testifying that Mr. Badeaux checked to see if Plaintiff was okay); see

also 25:16-26:11; 28:17-20 (Mr. Badeaux confirming this).

   B. FOLLOWING THE INCIDENT, REC MARINE’S KNEE JERK REACTION WAS TO DENY PLAINTIFF
      MEDICAL CARE AND THREATEN TO FIRE HIM

       Following the Incident, Plaintiff was threatened with termination and was denied medical

care for nearly two weeks. See Trial Transcript Day 3 at 156:13-157:4. On May 14, 2018, Plaintiff

was finally brought to Occupational Medicine Services by Mr. Harris—REC Marine’s Health,

Safety, and Environmental Manager. Id. at 101:4-12.

   C. PLAINTIFF URGES REC MARINE TO LET HIM SEE A DOCTOR (AGAIN)

       No later than June 20, 2018, Plaintiff made renewed complaints of pain and asked to see a

doctor. See Exhibit 2 at p. 2 (Incident Reports). REC Marine waited more than a week to have

Plaintiff evaluated by an orthopedic physician. See Exhibit 3 (Gulf Coast Orthopedics Records).

Before being evaluated, Plaintiff completed paperwork for Dr. Brett Casey (“Dr. Casey”), which
        Case 3:20-cv-00092-BAJ-EWD                Document 259         08/04/23 Page 4 of 30




documented his renewed complaints of shoulder and neck pain (and associated radicular

symptoms). See Exhibit 3 at p. 13 (Gulf Coast Orthopedics Records).10

        Dr. Casey only provided treatment for Plaintiff’s shoulder. When Plaintiff’s neck pain had

not resolved following his rotator cuff surgery and associated physical therapy, Plaintiff renewed

his neck complaints (yet again) in April 2019. See Exhibit 3 (Gulf Coast Orthopedics Records).

A cervical MRI was recommended by Dr. Casey. See Exhibit 3 (Gulf Coast Orthopedics Records).

REC Marine would not approve the MRI (this is not disputed).

     D. REC MARINE CUTS OFF PLAINTIFF’S MAINTENANCE AND CURE

        In June 2019, after denying Plaintiff the cervical MRI recommended by Dr. Casey, REC

Marine terminated Plaintiff’s maintenance and cure allegedly based on a letter written to an

insurance adjuster that was rooted in the false premise that Plaintiff had not reported neck pain

until a year after the Incident. Plaintiff reported neck pain immediately and again to Dr. Casey.

Plaintiff’s injuries were not healed when REC Marine terminated his maintenance and cure. See

generally Medical Records and Testimony. In fact, he requires substantial treatment that REC

Marine has been denying for years.

     E. PLAINTIFF RESUMES TREATMENT (AT HIS OWN EXPENSE)

        In August 2019, after REC Marine cut off Plaintiff’s maintenance and cure, Dr. Craig

Greene (“Dr. Greene”) examined the Plaintiff. See Exhibit 5 (Baton Rouge Orthopedics Clinic

Records). The examination revealed, inter alia, shoulder pain (and associated range of motion




10
  Dr. Casey has agreed that the pain identified on the late-June 2018 pain diagram (a) is in the neck region;
(b) could be caused by a problem in Plaintiff’s neck, and (c) confirms that the symptoms identified,
especially the pain in the hand/thumb, are consistent with radicular pain. See Exhibit 4 at 59:2-60:4 (Casey
Deposition). REC Marine ignored this evidence in substance and when denying Plaintiff maintenance and
cure.
       Case 3:20-cv-00092-BAJ-EWD                Document 259         08/04/23 Page 5 of 30




issues), neck pain, and cervical radiculopathy.11 See Trial Transcript Day 2 at 230:7-23. Dr.

Greene performed a Spurling test—which is done to test whether a nerve in the neck is being

pinched—which revealed positive findings (e.g. radiculopathy). Id. at 228:20-25. An MRI of

Plaintiff neck was ordered and performed to confirm the diagnoses. See Trial Transcript Day 1 at

96:2-4. The MRI objectively revealed a C6-C7 disc herniation in Plaintiff’s neck. Id. at 96:2-14;

98:24-99:9.12

     F. PLAINTIFF REPORTED A NECK INJURY TO DR. CASEY IMMEDIATELY

        Dr. Casey agrees that the pain identified on the June 2018 pain diagram is in the neck area

and could be caused by a problem in Plaintiff’s neck. See Exhibit 4 at 59:2-60:4 (Casey

Deposition). Moreover, Dr. Casey testified that the pain identified in Plaintiff’s neck, shoulder,

bicep, and thumb is indicative of radicular pain. See Exhibit 4 at 102:11-23 (Casey Deposition)

(Q. I think you would agree that he had some, uh, pain in his, uh, shoulder (indicating); in the, uh,

biceps (indicating); and, also, in the hand (indicating). Would that be indicative of radicular pain?

A. It would be, specifically, the thumb, and the index finger; yeah.”). These are the exact

symptoms Plaintiff reported to Dr. Casey:




11
   Notably, despite REC Marine’s exhaustive search for evidence of some intervening incident to blame
Plaintiff’s neck injury on, which included sending dozens of records requests to clinics, hospitals, and
pharmacies Plaintiff never visited, the evidence (and the jury’s findings) demonstrate the Incident caused
Plaintiff’s neck injuries. See Exhibit 6 (Defendants’ Records Requests).
12
   Defendants attempt to dispute the existence of a C6-C7 disc herniation is based on the results of an EMG
study, despite the objective findings on the MRI where the disc herniation can be seen compressing the
nerve root (which causes the radicular symptoms from Plaintiff’s neck to his hand/thumb). EMG studies
are not designed to pick up cervical radiculopathy—they are designed to diagnose peripheral neuropathy
or brachial plexopathy (e.g. carpal and/or cubital tunnel syndrome). See Day 1 Trial Testimony at 136:24-
137:7. If an EMG study picks up cervical radiculopathy, that is just a “bonus.” See Day 1 Trial Testimony
at 137:5-7.
       Case 3:20-cv-00092-BAJ-EWD              Document 259        08/04/23 Page 6 of 30




See Exhibit 3 at p.13 (Gulf Coast Orthopedics Records).

        The symptoms identified by Plaintiff are radicular in nature. This cannot be disputed. Even

Dr. Charles Haddad (“Dr. Haddad”) agrees with Dr. Casey’s assessment. See Trial Transcript Day

3 at 292:22-293:7 (Dr. Haddad confirming pain in the left side of the neck can come with a neck

injury and usually presents with other symptoms, including numbness and tingling).

     G. PLAINTIFF’S RECOMMENDED MEDICAL CARE13

        In December 2020, Plaintiff was recommended for pain management and C6-C7 ACDF

surgery. Id. at 100:13-101:6. This recommendation was not changed. Dr. David Ferachi (“Dr.

Ferachi”) testified that Plaintiff required additional physical therapy, cervical epidural steroid

injections, and surgical intervention to include an Anterior Cervical Discectomy and Fusion

(“ACDF”). See Trial Transcript Day 1 at 100:13-24; 107:23-108:4. Dr. Ferachi agreed to a

reasonable degree of medical probability that the Incident caused Plaintiff’s injuries and ACDF




13
  Plaintiff is still receiving medical care for his injuries. See Exhibit 7 (Haydel Spine and Wellness
Records).
        Case 3:20-cv-00092-BAJ-EWD               Document 259        08/04/23 Page 7 of 30




surgery recommended is necessary to alleviate Mr. Griffin’s pain. See Trial Transcript Day 1 at

100:25-101:6.

        Dr. Ferachi agreed to a reasonable degree of medical probability that the injuries sustained

by Plaintiff are painful, have resulted in chronic pain, are difficult to treat, often result in permanent

physical limitations, will require pain management, long-term prescription of pain medication, and

future surgeries. See Trial Transcript Day 1 at 103:16-105:17; 106:24-107:4. Further, Plaintiff

was examined and evaluated by Dr. Todd Cowen (“Dr. Cowen”), a Certified Physician Life Care

Planner and practicing physical medicine and rehabilitation and pain medicine physician. See Day

Two Trial Transcript at 33:9-34:1. As a Physician Life Care Planner, Dr. Cowen testified about

the treatment Plaintiff needed for the remainder of his life. See Trial Transcript Day 2 at 63:25-

64:3.

        After examining Plaintiff and reviewing Plaintiff’s relevant medical records, Dr. Cowen

recommended additional treatment for the injuries Plaintiff sustained to his shoulder, neck, and

back as a result of the Incident, which included, inter alia: (a) surgeon fees; (b) epidural steroid

injections; (c) x-rays; (d) EMG studies; (e) pharmaceutical medications; (f) lab studies; (g)

physical therapy; (h) a functional capacity evaluation; (i) nursing and attendant care costs; and (j)

neck and shoulder surgeries. Id. at 34:23-47:20. Dr. Cowen’s recommendations are based on

information he gained from interviewing and examining Plaintiff, reviewing Plaintiff’s medical

records, and his twenty-eight years of treatment of patients like Plaintiff as a practicing physical

medicine and rehabilitation and pain medicine physician. See Trial Transcript Day 3 at 42:2-8;

45:8-46:5. Plaintiff wants the treatment recommended by Dr. Ferachi and Dr. Cowen but simply

cannot afford it. See Trial Transcript Day 3 at 167:4-25; 170:18-20.

    H. PLAINTIFF HAS NOT WORKED SINCE THE INCIDENT AND CAN NO LONGER WORK
       Case 3:20-cv-00092-BAJ-EWD                Document 259        08/04/23 Page 8 of 30




        He has been unable to work since the Incident. Mr. Randolph Rice (“Mr. Rice”) offered

testimony regarding Plaintiff’s lost wages and lost earning capacity. Dr. Rice testified Plaintiff’s

lost wages in the past amounted to $144,995. See Trial Transcript Day 2 at 185:15-18. Dr. Rice

testified Plaintiff’s lost earning capacity amounted to $321,589. See Trial Transcript Day 2 at

185:15-18. Dr. Rice’s lost earning capacity calculation was based on Plaintiff having work life expectancy

of approximately ten years. See Trial Transcript Day 2 at 181:21-182:6.

        Mr. Dan Cliffe (“Mr. Cliffe”), Defendants’ retained expert, performed a similar analysis.

Mr. Cliffe testified that Plaintiff’s work life expectancy was approximately eleven years. See Trial

Transcript Day 4 at 38:1-11. Moreover, through Mr. Cliffe, the jury learned: (a) Plaintiff earned

approximately $37,000 in 2014 (which was approximately $3,000 higher than his projected

earnings in 2018) and (b) there is no appropriate methodology when making a determination for

lost future earning capacity. See Trial Transcript Day 4 at 30:20-24; 42:6-43:1. Further, Mr. Cliffe

conceded the work-life expectancy calculation he used when he served as an expert for himself

(where he increased the years of his own work life expectancy to seventy-five years of age) which

proved to be more accurate than data he used to perform the work life expectancy calculation for

Plaintiff in this case. See Trial Transcript Day 4 at 23:18-24:3.

     I. REC MARINE WITHHOLDS FACTS AND EVIDENCE FROM DR. HADDAD

        Prior to reaching his opinions, Dr. Haddad did not review any of the depositions in this

case, including Dr. Casey’s deposition which was taken months before the trial. See Exhibit 4

(Casey Deposition); see generally Testimony of Dr. Haddad; see also Exhibit 12 (Haddad Reports)

(not mentioning the review of any depositions).14 REC Marine withheld from Dr. Haddad material



14
  Dr. Haddad’s reports were not admitted into evidence. Plaintiff references them as there is no reference
in Dr. Haddad’s reports that would indicate he reviewed any depositions, including Dr. Casey’s. Plaintiff
was unable to find a reference to any depositions reviewed by Dr. Haddad in his trial testimony either.
        Case 3:20-cv-00092-BAJ-EWD                Document 259         08/04/23 Page 9 of 30




evidence and proceeded to trial knowing they would be subject to punitive damages. REC

Marine’s intentional and knowing decision to withhold adverse evidence from Dr. Haddad does

not eliminate their obligations to provide maintenance and cure nor insulate them from punitive

damages.15

     J. REC MARINE’S EFFORTS TO KEEP THE TRUTH OUT OF SIGHT

        REC Marine and Mr. Harris put a lot of energy into obscuring the truth. Mr. Harris claimed

that he did not know about the Incident for nearly two months. Mr. Harris’ evidence supporting

this were notes he had written more than a month after Plaintiff’s visit to Occupational Medicine

Services “documenting” conversations and/or interactions with Plaintiff and Captain Haglund. See

Exhibit 13 (Harris Notes). These notes further support the fact that Mr. Harris and REC Marine

were actively trying to prevent the truth from being revealed.

        Plaintiff discussed the Incident with Mr. Harris on the way to his visit to Occupational

Medicine Services and in Mr. Harris’ presence during the visit. See Trial Transcript Day 3 at

157:5-158:23. Objective evidence supports this, including the fact that the Incident is documented

in Plaintiff’s earliest medical records. See Exhibit 1 at p. 11 (Occupational Medicine Records).

But Mr. Harris did not know that the Incident was reflected in Plaintiff’s medical records. See

Trial Transcript Day 3 at 103:9-105:6 (Mr. Harris stating he had not seen the medical records from

Occupational Medicine Services discussing the Incident). This evidence shattered Defendants’

argument that Plaintiff did not report the Incident for months along with whatever credibility Mr.

Harris may have had.16


15
   In fact, REC Marine’s choice to withhold evidence from Dr. Haddad is evidence supporting the jury’s
award of punitive damages.
16
   Presented with this evidence, Mr. Harris suggested Plaintiff and Captain Haglund kept the Incident a
secret Mr. Harris/REC Marine. See Trial Transcript Day 3 at 104:8-14; 107:15-25. Mr. Harris’ suggestion
is preposterous—there is certainly no reason for Plaintiff to discuss the Incident with medical personnel but
keep the Incident a secret from Mr. Harris/REC Marine. This is especially true considering Plaintiff
      Case 3:20-cv-00092-BAJ-EWD              Document 259       08/04/23 Page 10 of 30




        The lengths Mr. Harris and REC Marine would go to avoid the truth were revealed to the

jury (e.g., instructing Plaintiff to complete multiple reports for another incident to create the

illusion that the Incident did not occur, eliminating pages from vessel logs, refusing to perform a

meaningful investigation, refusing to contact people who witnessed the Incident, writing notes

falsely “documenting” conversations, etc.). Mr. Harris and REC Marine’s yearslong attempt to

avoid the truth backfired.

        REC Marine’s intentional and knowing decisions to withhold evidence, deny the truth, and

rely on inherently flawed and unsupported opinions does not insulate them from punitive damages.

The Incident and the actions taken by REC Marine in response have forever changed Plaintiff’s

life for the worse.

                               II.    ARGUMENT & AUTHORITY

    A. STANDARDS FOR RULE 59 MOTIONS FOR NEW TRIAL

        Upon the conclusion of a jury trial, Federal Rule of Civil Procedure 59 empowers the trial

court, on motion, to grant a new trial “for any reason for which a new trial has heretofore been

granted in an action at law in federal court [.]” Deciding whether to grant a new trial is a matter

“confided almost entirely to the exercise of discretion on the part of the trial court.” Allied

Chemical Corp. v. Daiflon, Inc., 449 U.S. 33, 36, 101 S.Ct. 188, 66 L.Ed.2d 193 (1980).

        A trial court “should not grant a new trial on evidentiary grounds unless the verdict is

against the great weight of the evidence.” Carr v. Wal-Mart Stores, Inc., 312 F.3d 667, 670 (5th

Cir. 2002) (quoting Whitehead v. Food Max of Miss., Inc., 163 F.3d 265, 269 (5th Cir.1998)).

Even if substantial evidence supports the jury's verdict, the court may find that the weight of the

evidence is against the verdict; however, the court cannot grant a new trial “simply because [the


authorized Occupational Medicine Services to release his medical records to REC Marine. See Exhibit 1
at p.15 (Occupational Medicine Services) (signed HIPAA release dated May 14, 2018).
      Case 3:20-cv-00092-BAJ-EWD              Document 259        08/04/23 Page 11 of 30




court] would have come to a different conclusion then the jury did.” Peterson v. Wilson, 141 F.3d

573, 577 (5th Cir. 1998). Likewise, “[t]he fact that there was conflicting testimony regarding

causation and damages is not grounds for a new trial.” Dawson v. Wal-Mart Stores, Inc., 978 F.2d

205, 208 (5th Cir. 1992). “Where the jury could have reached a number of different conclusions,

all of which would have sufficient support based on the evidence, the jury's findings will be

upheld.” Dawson, 978 F.2d at 208. The court views the evidence “in a light most favorable to the

jury's verdict…and [the verdict] must be affirmed unless…the court believes that reasonable

persons could not arrive at a contrary decision.” Dawson, 978 F.2d at 208, citing Jones v. Walmart

Stores, Inc., 870 F.2d 982, 986 (5th Cir. 1989). Importantly, there is no abuse of discretion denying

a motion for new trial unless there is a complete absence of evidence to support the verdict. Vogler

v. Blackmore, 325 F.3d 150, 154 (5th Cir. 2003) (emphasis added). In conducting its analysis, the

trial court must accord great difference to jury findings, and courts should disturb the jury’s award

only when it shocks the judicial conscience, is the result of bias, passion, prejudice, corruption, or

other improper motive, is contrary to right reason, or is entirely disproportionate to the injuries

sustained. Wood v. Diamond M Drilling Co., 691 F.2d 1165, 1168 (5th Cir. 1982).

   A. THE PAST AND FUTURE MEDICAL DAMAGES AWARDED ARE REASONABLE AND SUPPORTED
      BY THE EVIDENCE

       Defendants insinuate that the medical care recommended by Dr. Cowen is somehow

speculative because there was no testimony regarding when Plaintiff will require the treatment

recommended by Dr. Cowen and Plaintiff does not want the treatment recommended by Dr.

Cowen. Plaintiff was examined and evaluated by Dr. Cowen, a Certified Physician Life Care

Planner and practicing physical medicine and rehabilitation and pain medicine physician. See Trial

Transcript Day 2 at 33:9-34:1. Dr. Cowen testified about the treatment Plaintiff needed for the

remainder of his life. See Trial Transcript Day 2 at 63:25-64:3. In reaching his conclusions (which
       Case 3:20-cv-00092-BAJ-EWD                 Document 259         08/04/23 Page 12 of 30




were made to a reasonable degree of medical probability), Dr. Cowen applied the methodology

approved for Physician Life Care Planners. See Trial Transcript Day 2 at 35:16-19; 38:20-39:1;

40:4-41:9; 42:9-14; 43:2-8. After examining Plaintiff and reviewing Plaintiff’s relevant medical

records, Dr. Cowen recommended additional treatment for the injuries Plaintiff sustained to his

shoulder, neck, and back as a result of the Incident, which included, inter alia: (a) surgeon fees;

(b) epidural steroid injections; (c) x-rays; (d) EMG studies; (e) pharmaceutical medications; (f) lab

studies; (g) physical therapy; (h) a functional capacity evaluation; (i) nursing and attendant care

costs; and (j) neck and shoulder surgeries. Id. at 34:23-47:20. Dr. Cowen’s recommendations are

based on information he gained from interviewing and examining Plaintiff, reviewing Plaintiff’s

medical records, and his twenty-eight years of treatment of patients like Plaintiff as a practicing

physical medicine and rehabilitation and pain medicine physician. See Trial Transcript Day 3 at

42:2-8; 45:8-46:5.

        Dr. Cowen is both a medical doctor and a life care planner. Moreover, Dr. Cowen’s

recommendations are consistent with his experience, the recommendations of Plaintiff’s treating

physicians, and an arguable standard of care. Defendants’ argument that the damages awarded for

certain medical treatment recommended by Dr. Cowen are somehow improper because Plaintiff’s

treating physicians did not put into their reports all the treatment Plaintiff will need over the course

of his life. That certainly is not the standard—that is what life care planners do. Moreover, these

same arguments have been raised by REC Marine and rejected by sister courts. See Durr v. GOL,

LLC and REC Marine Logistics, LLC, 2019 WL 6464971, at *4 (E.D. La. Dec. 2, 2019).17


17
   Defendants reliance on In the Matter of Masala and Associated Terminals of Saint Bernard v. Potential
Shipping HK Co. Ltd. is misplaced. In the Matter of Masala, there was no life care plan and no timeframe
for when future treatment would be needed. 2022 WL 17485951 (E.D. La. Dec. 7, 2022). Here, there was
a life care plan and Dr. Cowen identified not only the treatment Plaintiff will require, but also when he will
need it. See Day 2 Trial Transcript at 36:5-46:2. Defendants reliance on Associated Terminals of Saint
Bernard v. Potential Shipping HK Co. Ltd. is misplaced. In Associated Terminals of Saint Bernard, the
       Case 3:20-cv-00092-BAJ-EWD                Document 259         08/04/23 Page 13 of 30




        The jury’s award of future medical expenses for Plaintiff’s shoulder injury is appropriate

because injured seamen can be awarded damages for cure and future medical expenses:

        When supported by a physician's testimony, it is appropriate for a district court to award
        future maintenance and cure until the plaintiff reaches maximum medical improvement.
        Moreover, a plaintiff can be awarded both cure and tort damages for future medical
        expenses, so long as no duplication will occur, because the cure obligation is independent
        of tort law.

McBride v. Estis Well Serv., L.L.C., 853 F.3d 777, 783 (5th Cir. 2017) (internal citations omitted)

(emphasis added). The jury did not award cure, so there is no possibility of duplicative damages.

See Exhibit 8 (Verdict). Moreover, the future medical expenses associated with Plaintiff’s

shoulder injuries are supported by physician testimony. See Day One Trial Transcript at 100:13-

24; 107:23-108:4; see also Trial Transcript Day 2 at 37:1-11; 41:12-23; 43:12-44:9; 63:12-21; and

63:22-64:3.

        The overall award of future medical expenses should not be reduced. Jury awards must

not fall within estimates given by experts. “Although we must give great deference to the jury,

the jury need not defer to the experts. We do not require that a jury's award fall within the estimates

given by expert testimony. The purpose of expert testimony is to guide the jury.” Gildersleeve v.

Historic Renovations of Yazoo, Inc., 2010 WL 4718398, at *1 (S.D. Miss. Nov. 15, 2010), quoting

Leefe v. Air Logistics, Inc., 876 F.2d 409, 411–12 (5th Cir.1989) (internal citations omitted).



intervenor, Jamaal Ford, was unable to establish that he was more likely than not that he would pursue a
surgery. Id. The Defendants omit the following exchange that led to the court’s finding that the future
medical care was speculative:

     THE COURT: Your plan is based on the plaintiff changing his mind and authorizing surgery?
     THE WITNESS: Ultimately, yes, sir.
Id. at fn. 104.

The opposite is true here. Plaintiff wants the treatment recommended by Dr. Ferachi and Dr. Cowen, but
cannot afford it. See Trial Transcript Day 3 at 167:4-25; 170:18-20 (“Q. Would you like to get the treatment
recommended by Dr. Cowen. A. Yes, sir. Q. Would you like REC [Marine] to pay for that? A. I would
love for them to pay for it. I can’t pay for it.”).
       Case 3:20-cv-00092-BAJ-EWD              Document 259        08/04/23 Page 14 of 30




        As discussed supra, there was substantial evidentiary support for the jury’s damage award

for Plaintiff’s future medical care.18 Id. Additionally, the jury learned Dr. Cowen’s estimates were

conservative and that Plaintiff’s future medical costs may be greater than his estimate. See Trial

Transcript Day 2 at 112:5-9. The jury may have just as easily found Dr. Cowen’s estimate too

conservative. The award of future medical expenses is neither against the great weight of evidence,

nor is it indicative of any passion or prejudice.

     B. THE AWARD OF LOST INCOME AND LOSS OF EARNING CAPACITY WAS APPROPRIATE

        When he worked for JNB Operating (the company that merged with REC Marine in 2016)

and REC Marine, he never missed a single day of work. See Trial Transcript Day3 at 215:16-23.

However, Plaintiff has not been able to work since mid-2018. In 2018, Plaintiff earned $19,635.19

See Exhibit 10 (2018 W-2 Form). Plaintiff has no reported earnings since 2018.

         Mr. Randolph Rice (“Mr. Rice”) performed an economic analysis on behalf of Plaintiff

and determined the amount of Plaintiff’s lost wages in the past and his projected loss of earning

capacity in the future. See Trial Transcript Day 2 at 185:15-188:12. Defendants hired Mr. Dan

Cliffe (“Mr. Cliffe”) to perform a similar analysis.

        As discussed supra, courts “do not require that a jury's award fall within the estimates given

by expert testimony. The purpose of expert testimony is to guide the jury.” Gildersleeve v.

Historic Renovations of Yazoo, Inc., 2010 WL 4718398, at *1 (S.D. Miss. Nov. 15, 2010), quoting

Leefe v. Air Logistics, Inc., 876 F.2d 409, 411–12 (5th Cir.1989) (internal citations omitted).




18
   The recommended treatment was condensed on the attached chart that was given to the jury. See Exhibit
9 (Chart of Recommended Future Medical Treatment).
19
   REC claims they provided wage advances to Plaintiff while he was treating with Dr. Casey and Mr.
Fitzgerald. However, this claim is not supported by the evidence as none of the supposed “wage advances”
are reflected on Plaintiff’s W-2.
      Case 3:20-cv-00092-BAJ-EWD             Document 259        08/04/23 Page 15 of 30




Moreover, the jury is permitted to make upward adjustments to the calculations if supported by

the evidence:

       In a related argument, Defendant also objects to the number of years, in essence the
       retirement age projected, used in the jury’s calculation. Defendant argues that 65 years is
       the absolute cap to any award of loss of future earning capacity. This is incorrect…Finding
       that the evidence would have supported logically and reasonably an award in excess of the
       one stated by the jury for loss of future earning capacity, the Court finds that the ’jury’s
       award was not speculative, nor based upon conjecture, but rather grounded in evidence
       properly before it. Therefore, the Court declines to disturb the ’jury’s award on this ground.

McKissack v. Wal-Mart Stores, Inc., 2004 WL 212930, at *3 (W.D. Tex. Jan. 26, 2004).

       The jury awarded Plaintiff $150,000 in past wage loss and $500,000 in future loss of

earning capacity. While this may be a departure from the analysis performed by Mr. Rice, it is

supported by the testimony of Mr. Cliffe. During the examination of Mr. Cliffe, the jury learned:

(a) Plaintiff earned approximately $37,000 in 2014 (which was approximately $3,000 higher than

his projected earnings in 2018); (b) the work-life expectancy calculation he used when he served

as an expert for himself (where he increased the years of his own work life expectancy) proved to

be more accurate than the calculation he performed in this case; and (c) there is no appropriate

methodology when making a determination for lost future earning capacity. See Trial Transcript

Day 4 at 30:20-24; 42:6-43:1.

       Mr. Cliffe, Defendants’ own expert, provided a basis for the jury to depart from Mr. Rice’s

estimate and award a greater amount in lost wages and lost earning capacity in the future (by

accounting for higher earnings in the past and a longer work life expectancy). Frankly, taking

into account the increased work life expectancy Mr. Cliffe relied upon when serving as his own

expert (adding a decade or more to his work life expectancy) would increase Plaintiff’s loss of
       Case 3:20-cv-00092-BAJ-EWD                Document 259         08/04/23 Page 16 of 30




earning capacity by hundreds of thousands of dollars—the jury’s award is well within that range.20

There can be no indication the jury was motivated by any passion or prejudice.

        Further, as the jury could have made an upward adjustment to Plaintiff’s lost wages based

on the testimony of Mr. Cliffe, the damages awarded as maintenance are not proved to be

duplicative. It is Defendants’ burden to establish whether the amount of damages awarded to

Plaintiff for his lost wages is duplicative of the damages awarded for maintenance. In light of the

above, Defendants have not met their burden in showing the maintenance award is duplicative.

     C. A NEW TRIAL ON GENERAL DAMAGES IS NOT WARRANTED

        When a jury verdict results from passion or prejudice, a new trial is the proper remedy.

When a damage award is merely excessive or so large as to appear contrary to right reason,

remittitur is the appropriate remedy. Laxton v. Gap, Inc., 333 F.3d 572, 586 (5th Cir. 2003). The

jury’s assessment of damages, however, is heavily weighted against judicial reconsideration. A

court will not reverse a jury verdict as excessive except on the strongest of showings that the award

was completely disproportionate to the injury sustained by the plaintiffs. Caldarera v. Eastern

Airlines, Inc., 705 F.2d 778, 784 (5th Cir. 1983). Like a new trial, remittitur is appropriate only

when the inconsistency between injury and award is so vast as to “shock the judicial

conscience,…be contrary to right reason,…or indicate bias, passion, corruption or other improper

motive…” 705 F.2d at 784.

        Plaintiff suffered significant injuries to his shoulder and neck. Plaintiff has undergone one

rotator cuff surgery and will need another in the future. He has a disc herniation in his neck at C6-

C7. Plaintiff will also need to undergo two separate surgeries to his neck—an ACDF and an


20
  There is no requirement that the jury “award fall within the estimates given by expert testimony. The
purpose of expert testimony is to guide the jury.” Gildersleeve v. Historic Renovations of Yazoo, Inc., 2010
WL 4718398, at *1 (S.D. Miss. Nov. 15, 2010), quoting Leefe v. Air Logistics, Inc., 876 F.2d 409, 411–12
(5th Cir.1989) (internal citations omitted).
      Case 3:20-cv-00092-BAJ-EWD                Document 259        08/04/23 Page 17 of 30




adjacent level surgery. He will need to be on pain medication throughout the rest of his life. See

Trial Transcript Day 2 at 34:24-47:20. The argument that Plaintiff has not or will not suffer

physical pain, disfigurement, pain and suffering, mental anguish, and loss of enjoyment of life is

divorced from the evidence. The nature and extent of Plaintiff’s injuries, pain and suffering,

mental anguish, and loss of enjoyment of life is reflected in the hundreds of pages of medical

records admitted during the trial along with the testimony of the witnesses. Examples include the

following:

             1. Plaintiff had pain in his shoulder and neck immediately following the Incident.
             2. Plaintiff was still in pain days after the Incident. See Trial Transcript Day 3 at
                 156:13-18.
             3. As of the date of trial, Plaintiff was still experiencing a burning pain in his shoulder.
                 Id. at 162:3-8.
             4. Plaintiff is in pain every day—he stays in pain. Id. at 168:1-169:16.
             5. The objective MRI findings show that Plaintiff had a C6-C7 disc herniation
                 pinching a nerve in Plaintiff’s neck, which is very painful. See Trial Transcript Day
                 1 at 105:3-8.
             6. On June 29, 2018, Plaintiff identified areas that he was still experiencing pain,
                 including his neck, shoulder, bicep, and hand/thumb. See Trial Transcript Day 3 at
                 161:18-162:2.
             7. Plaintiff’s pain has been getting worse. Id. at 163:18-22.
             8. Plaintiff needs a surgery and significant medical care. See Trial Transcript Day 2
                 at 34:24-47:20; see also Trial Transcript Day 1 at 100:17-101:6.
             9. Plaintiff has difficult to treat chronic pain as a result of the Incident. See Trial
                 Transcript Day 1 at 105:9-17.
             10. Plaintiff has physical limitations. Id. at 107:12-17.
             11. Plaintiff only gets three (3) or four (4) hours of sleep a night and sometimes is
                 awake for the entire day due to his pain. See Trial Transcript Day 3 at 163:12-16.
             12. To a reasonable degree of medical probability, if Plaintiff does not receive the
                 treatment he needs he could suffer some degree of disability for the rest of his life.
                 See Trial Transcript Day 1 at 107:18-22.
             13. Plaintiff can no longer take care of himself or play with his kids. See Trial
                 Transcript Day 3 at 168:9-169:8.
             14. Plaintiff is unable to provide his children to swim. Id.
             15. Plaintiff cannot engage in activities he enjoyed prior to the Incident, including
                 riding horses and four-wheelers or playing volleyball or football with his kids. Id.
             16. Plaintiff physical cannot pick up his children. Id.
      Case 3:20-cv-00092-BAJ-EWD             Document 259          08/04/23 Page 18 of 30




       The jury assessed all this information (and more) and awarded $100,000 in past general

damages and $250,000 in future general damages for Plaintiff’s physical impairment,

disfigurement, pain and suffering, mental anguish, and loss of enjoyment of life. See Exhibit 8

(Verdict Form). There is absolutely no indication that this decision was based on passion,

prejudice or any other improper motive. Both sides tried the case professionally and well within

the rules. The jury simply deliberated and concluded that the totality of Plaintiff’s pain and

suffering required a $350,000 general damages award to place him back in the position he would

have been in but for the Incident, despite counsel for Plaintiff requesting $510,720 in past general

damages and $2,452,800 in future general damages. See Trial Transcript Day 5 at pgs. 103-04.

The jury answers this question, not the lawyers trying the case.

       Under the circumstances, there is simply no reason to grant a new trial on damages.

   D. REMITTITUR ON GENERAL DAMAGES IS UNNECESSARY

       When analyzing whether a remittitur is appropriate, the U.S. Fifth Circuit has endorsed two

methods for evaluating a jury award: (1) The maximum recovery rule, and (2) the clearly excessive

rule. Campbell v. England, 2005 WL 1400465 (E.D. La.), revd on other grounds, 2007 WL

1454542 (5th Cir. 2007). These somewhat competing avenues for evaluating were discussed in

Raynes v. McMoRan Expl. Co.:

       Under the ‘maximum recovery rule, a court reviewing a jury verdict should remit damage
       awards that are found to be excessive to the maximum amount the jury could have awarded.
       The maximum amount is determined by comparing the award under scrutiny to awards in
       other similar cases. A multiplier of 50% is then applied to arrive at the maximum recovery
       amount, and the jury award is remitted to that amount if necessary. Under the ‘clearly
       excessive’ rule, a ‘damage award may be overturned only upon a clear showing of
       excessiveness or upon a showing that the jury was influenced by passion or prejudice.’
       Applying this rule, courts have traditionally frowned upon comparing an award to awards
       in factually similar cases as a method for determining if an award is excessive. Rather, this
       inquiry emphasizes the uniqueness of each case, which must be determined upon its own
       facts, while recognizing that comparisons may serve as a point of reference.
       Case 3:20-cv-00092-BAJ-EWD               Document 259     08/04/23 Page 19 of 30




297 F.3d at 374 (internal citations omitted).

       Whichever method is used, the past and future general damages awarded by the jury were

reasonable. Plaintiff has found the following cases which offer some guidance:

  May v. Global Santa Fe Drilling, et al., 2007 WL 2728482, at *1 (E.D. La. Sept. 14, 2007)
 May was injured because a defective snub line on spinner hawks on the drill floor on the J/U
 High Island II was negligently replaced. May was hurt when he was struck on the right shoulder
 and neck by the spinner hawks during rig operations. He first complained of headaches and
 shooting pain down his right shoulder. The condition caused pain and weakness prevented May
 from working offshore. The jury awarded the plaintiff $1,250,000 in past and future pain and
 suffering. Applying the 50% multiplier to the May verdict brings the general damage award to
 $1,875,000. Judge Lemmon denied the defendant's post-trial motion for relief from this award.
 See also Motion for New Trial (found at 2007 WL 4535410) and Opposition (found at 2007 WL
 4535411).
                 Simeon v. T. Smith & Son, Inc, 852 F.2d 1421 (5th Cir. 1988)
 Simeon, a derrick barge deckhand, nearly lost his foot in a mooring line incident. He underwent
 a surgical operations and hospitalization. Thereafter, he had to use a cane to walk and could
 only walk short distances. He became “gloomy and depressed.”

 The $1,250,000 pain and suffering jury award against the Jones Act employer was remitted to
 $600,000, and the $450,000 pain and suffering award against a third-party tugboat owner was
 upheld. This total damage award of $1,050,000 is equivalent to $2,699,352 today. Utilizing the
 50% multiplier, the maximum award for this type of injury expressed in 2023 dollars in the U.
 S. Fifth Circuit in a Jones Act is $4,049,028.
                Willett v. W. Oceanic, Inc., 117 F.R.D. 379, 383 (E.D. La. 1987)
 Willett suffered two (2) broken wrists and a cervical fracture. The jury awarded him $1.5 million
 in general damages in his Jones Act case. District Judge Peter Beer applied the maximum
 recovery rule and ordered a remittitur in the amount of $600,000, thereby reducing the jury
 verdict to $900,000. The remitted amount is equal to $2,409,457 in 2023 dollars. Applying the
 50% multiplier, the general damage award totals $3,614,185 in 2023 dollars.
                   Gough v. Natural Gas Pipeline Co., F.2d 763 (5th Cir. 1993)
 Captain Gough was at the helm of a vessel involved in an explosion offshore. He was not
 physically hurt, he suffered from post-traumatic stress disorder that his doctors opined would
 take two (2) to three (3) years to bring under control. The disorder was not totally disabling, as
 he was working as a carpenter at the time of trial. In this mental pain and anguish case, the
 general damage award of $1,444,599 was reduced to $600,000 as the maximum reasonable
 award for emotional distress. This award is equivalent to $1,262,811 in 2023 dollars. The 50%
 multiplier brings the maximum emotional distress award to $1,836,134 in 2023 dollars.

     E. PUNITIVE DAMAGES WERE WARRANTED AND THE $1.5 MILLION PUNITIVE DAMAGE
        AWARD IS PROPER21

21
  Plaintiff incorporates his Response to REC Marine’s Amended and Supplemental Motion in Support of
Renewed Judgment as a Matter of Law.
      Case 3:20-cv-00092-BAJ-EWD               Document 259        08/04/23 Page 20 of 30




       If an employer willfully and wantonly disregards its maintenance and cure obligations, the

seaman is entitled to punitive damages. Atlantic Sounding Co. Inc. v. Townsend, 557 U.S. 404,

424 (2009). Examples of conduct meriting an award of punitive damages include: (1) laxness in

investigating a claim; (2) termination of benefits in response to the seaman's retention of counsel

or refusal of a settlement offer;22 and (3) failure to reinstate benefits after diagnosis of an ailment

previously not determined medically. Breese, 823 F.2d at 103; See also Harper v. Zapata Off-

Shore Co., 741 F.2d 87, 90 (5th Cir. 1984) (collecting cases). Plaintiff highlights a few of the

many reasons why punitive damages are warranted.23

       Remarkably, REC Marine claimed the Incident did not occur and maintained that position

through trial, stating to the jury: “He claims that the personnel basket incident happened a few

days after the incident where he hit his shoulder on the fire hose rack. We believe the evidence

that you're going to hear in this case will establish that this personnel basket incident simply didn't

happen.”    See Trial Transcript Day 1 at 78:7-13. However, the jury was presented with

considerable evidence demonstrating the Incident occurred and the attempts by REC Marine and

Mr. Harris to conceal the truth. The investigation alone was designed to learn as little as possible.

       As a pretext to deny Plaintiff maintenance and cure, REC Marine claims they relied on Dr.

Casey’s opinion where he suggests Plaintiff did not identify neck pain until April 2019. However,

Dr. Casey’s opinion is inherently flawed and ignores the evidence. It was never reasonable for

REC Marine or their retained experts to rely on Dr. Casey’s opinion because the evidence proves

the very foundation of the opinion to be inherently flawed. After learning Plaintiff reported pain


22
   This lawsuit was filed in April 2019, Plaintiff’s counsel sent letters to REC Marine regarding issues
regarding Plaintiff’s maintenance and cure, and Plaintiff’s maintenance and cure was terminated in June
2019.
23
   Plaintiff incorporates the arguments made in his Response to REC Marine’s Motion for Judgment as a
Matter of Law.
      Case 3:20-cv-00092-BAJ-EWD              Document 259       08/04/23 Page 21 of 30




to Captain Haglund, REC Marine did not reinstate Plaintiff’s maintenance and cure. Nor did they

reinstate Plaintiff’s maintenance and cure when they learned he reported pain to Mr. Badeaux.

They did not reinstate benefits when they learned the Incident was reported to Mr. Harris prior to

and during his appointment at Occupational Medicine Services. They kept denying Plaintiff

maintenance and cure even after they knew Dr. Casey’s opinion was flawed. REC Marine chose

to not provide maintenance and cure after learning Plaintiff was diagnosed with a disc herniation.

REC Marine’s position remained unchanged even after learning Plaintiff had been recommended

for neck surgery. REC Marine did not reassess their decision to terminate Plaintiff’s maintenance

and cure even after learning Plaintiff needed significant medical care in the future, including two

back surgeries, a shoulder surgery, physical therapy, check-ups and evaluations.

       REC Marine continued refusing to reinstate Plaintiff’s maintenance and cure despite

knowing that “when there are ambiguities or doubts [regarding maintenance and cure], they are

resolved in favor of the seaman.” Vaughan v. Atkinson, 369 U.S. 527, 532 (1962); Aguilar v.

Standard Oil Co., 318 U.S. 724, 735 (1943) (“If leeway is to be given in either direction, all

considerations which brought the liability into being dictate it should be on the sailor's behalf.”);

Johnson v. Marlin Drilling Co., 893 F.2d 77, 79-80 (5th Cir. 1990) (applying “ambiguities or

doubts” rule). REC Marine repeatedly failed in their responsibility to reassess their decision to

terminate Plaintiff’s maintenance and cure.

       Moreover, there is no bright line rule limiting punitive damages to the ratio in Exxon

Shipping Co. v. Baker is contrary to the holding in that case. In the Exxon case, the United States

Supreme Court’s decision involved punitive damages awarded for the Exxon Valdez oil spill in

Alaska. Exxon Shipping Co. v. Baker, 554 U.S. 471, 128 S. Ct. 2605, 171 L. Ed. 2d 570 (2008).

The jury awarded $507 million in compensatory damages and $4.5 billion in punitive damages.
      Case 3:20-cv-00092-BAJ-EWD             Document 259        08/04/23 Page 22 of 30




Id. Upon remand by the Ninth Circuit, the punitive damage award was reduced to $2.5 billion.

Id. The United States Supreme Court further limited the punitive damages award in that case to a

1:1 ratio to compensatory damages. Id. However, the case does not establish a broad, sweeping

rule limiting punitive damage awards. On the contrary, the United States Supreme Court expressly

limits its holding to the facts presented in the Exxon case: “whether the award…in this case is

greater than maritime law should allow in the circumstances.” See Exxon, 554 U.S. at 476

(emphasis added). The 1:1 ratio has been found inapplicable in other cases. See Clausen v. Icicle

Seafoods, Inc. 272 P.3d 827, 835 (Wash. 2012) (affirming award $1.3 million in punitive

damages).    The Clausen court also noted that punitive damages beyond the 1:1 ratio to

compensatory damages were necessary as a “deterrent.” Id. at 836. The court said:

       A variable punitive damages award creates a disincentive to employers who would
       otherwise prefer to hold out on paying maintenance and cure until a suit is filed, if at all.
       Because seamen do not qualify for state or federal worker compensation, their only
       recourse from being abandoned when sick or injured on the job is maintenance and cure.

Id.

       However, even if the Court were to follow the 1:1 ratio, Plaintiff’s economic and non-

economic damages versus the punitive damages is less than 1:1. The economic and non-economic

damages awarded were in excess of $1.7 million and the punitive damages awarded were $1.5

million.

       In the alternative, even if the Court were to apply the 1:1 ratio, the compensatory damages

awarded by the jury (e.g., Plaintiff’s lost wages, lost earning capacity, past medical expenses, and

future medical expenses, etc.) and any attorneys’ fees owed to Plaintiff calculated to establish the

denominator for the punitive to compensatory damages ratio. Notably, despite arguing the Court

in the instant Motion that the Court should not treat the compensatory damages awarded by the

jury (e.g., Plaintiff’s lost wages, lost earning capacity, past medical expenses, and future medical
      Case 3:20-cv-00092-BAJ-EWD              Document 259        08/04/23 Page 23 of 30




expenses, etc.) as maintenance and cure as a basis for determining the ratio between compensatory

damages and punitive damages, REC Marine took the opposite position in their Amended and

Supplemental Memorandum in Support of Renewed Motion for Judgment as a Matter of Law. See

REC Marine’s Amended and Supplemental Memorandum in Support of Renewed Motion for

Judgment as a Matter of Law at p.3 (“The verdict form listed no amount for cure, likely because

the jury instructions stated if the jury chose to award medical expenses on the Jones Act or

unseaworthiness claims, they should not award cure for the same period.”).

       The facts here support a punitive damages award beyond the 1:1 ratio as a deterrent to REC

Marine in the future. However, to the extent the ratio is determined to be greater than 1:1, Plaintiff

would urge the Court to follow the approach in Claussen.

   F. THE TIME LIMIT IMPOSED BY THE COURT WAS APPROPRIATE AND DID NOT CAUSE
      PREJUDICE TO DEFENDANTS

       A court may set time limits on a trial, and a limit of days is acceptable even in complex

cases. See MCI Communications Corp. v. American Tel. & Tel. Co., 708 F.2d 1081, 1171-72 (7th

Cir.), cert. denied, 464 U.S. 891 (1983) (rejecting defendants' suggestion that a 26-day time limit

in an antitrust case was too short and that the limit should have been computed in months, not

days); see also United States v. Hardage, 750 F.Supp. 1460 (W.D.Okla.1990), aff'd in relevant

part, 982 F.2d 1436, 1463 (10th Cir. 1992) (a complex environmental case where a time limit of

days was imposed).

       Federal Rule of Evidence 611(a) states that “[t]he court shall exercise reasonable control

over the mode and order of interrogating witnesses and presenting evidence so as to (1) make the

interrogation and presentation effective for the ascertainment of the truth [and] (2) avoid needless

consumption of time…” It is fundamental that a court has the power and duty to manage its docket

and the individual cases before it to “secure fairness in administration and elimination of
       Case 3:20-cv-00092-BAJ-EWD             Document 259        08/04/23 Page 24 of 30




unjustifiable expense and delay.”          United States v. Hardage, 750 F.Supp. at 1528

(W.D.Okla.1990), aff'd in relevant part, 982 F.2d 1436 (10th Cir.1992) (quoting FED. R. EVID.

102). In addition, “courts have the discretion to place reasonable time limits on the presentation of

evidence to prevent undue delay, waste of time, or needless presentation of cumulative evidence.”

Id. (citations omitted).

        After time limits were imposed, the following witnesses were called: Mr. Badeaux, Mr.

Harris (called in both Plaintiff and Defendants’ case in chief), Plaintiff, Dr. Haddad, Mr. Carlisle,

Ms. Haupt, Mr. Cliffe, Mr. Fazioli, Mr. Winhauer, Captain Haglund (by deposition), and Dr. Casey

(by deposition). Defendants conceded at trial that they were given all the time they needed to

examine witnesses:

            1. Defendants elected to reserve their questions for Mr. Harris until their case in chief.
                See Trial Transcript Day 3 at 133:7-11.
            2. Defendants decided not to question Mr. Badeaux, seeding their time to counsel for
                QBE Insurance (Europe), Ltd. Id. at 55:20-56:22.
            3. When counsel requested more time to examine Plaintiff, the Court granted their
                request. Id. at 234:9-13.
            4. After advising the Court they had just one final question for Plaintiff and certainly
                not the five areas of questioning they now claim (73 days after the trial) they wanted
                to explore with the Plaintiff, Defendants did not ask for any additional time to
                examine Plaintiff. Id. at 235:20-236:8.
            5. Defendants never requested more time to examine Dr. Haddad. Id. at 312. In fact,
                counsel for Defendants admitted on the record that the time limit for Dr. Haddad
                was “perfect.” Id. at 291:6-7.
            6. After examining Mr. Carlisle on redirect counsel for Defendants confirmed they
                had “No further questions” for him. Id. at 349:20-21.
            7. Counsel for Defendants did not ask for more time to examine Ms. Stephanie Haupt.
                Id. at 403-404.
            8. After examining Mr. Cliffe, counsel for Defendants stated on the record they had
                no further questions for him. See Trial Transcript Day 4 at 41:5.
            9. Before Mr. Fazioli was excused, counsel for Defendants stated on the record
                “Those are all the questions I have.” Id. at 97:19-20.
            10. Counsel for Defendants stated on the record that they had no further questions for
                Captain Winhauer. Id. at 128:24-25.
            11. Captain Haglund and Dr. Casey were presented by deposition and Defendants were
                able to play all testimony they wanted that was not excluded by the Court on
                evidentiary grounds.
      Case 3:20-cv-00092-BAJ-EWD               Document 259        08/04/23 Page 25 of 30




           12. Counsel for Defendants stated on the record that they had no further questions for
               Mr. Harris. See Trial Transcript Day 5 at 52:6-10.
           13. Further, counsel for Defendants advised the Court that if they needed more time to
               question Mr. Harris that they would renew his request after co-counsel completed
               his direct examination. See Trial Transcript Day at p. 162. No request was made
               or denied.

       The record reflects that Defendants were able fully question the witnesses. Nevertheless,

Defendants argue they were prejudiced by the time limits imposed by the Court. They claim the

time limits required them to recraft their trial strategy but have not cited to any portion of the

record where this is indicated with any specificity. Defendants, however, for the first time

(seventy-three days after the trial), claimed there were some areas of questioning they wanted to

explore with the Plaintiff.

       Defendants post-trial objection is much too late. See, e.g., Life Plus Int’l v. Brown, 317

F.3d 799, 807 (8th Cir. 2003) (“To preserve this issue for [appellate] review, a party must lodge a

timely objection to the time limits and must make a proffer of evidence that was excluded for lack

of sufficient time.” (citing Johnson v. Ashby, 808 F.2d 676, 678–79 (8th Cir. 1987))), as amended

on reh’g in part (Feb. 19, 2003); Colquitt v. Muhammad, 86 S.W.3d 144, 152 (Mo. Ct. App. 2002)

(“A party who complains about the exclusion of evidence should make an offer of proof to inform

the trial court of the content of the evidence proffered . . . .”). “A party may claim error in a ruling

to admit or exclude evidence only if the error affects a substantial right of the party and…if the

ruling excludes evidence, a party informs the court of its substance by an offer of proof, unless the

substance was apparent from the context.” See Fed. R. Evid. 103(a). Defendants repeatedly

informed the Court they had no further questions for witnesses. Defendants did not object to the

time limits until after the close of evidence. Defendants did not make an offer of proof as to the

evidence they could not introduce. Defendants’ post-trial objection is much too late. Defendants

have waived any complaint as to the time limits imposed by the Court.
      Case 3:20-cv-00092-BAJ-EWD              Document 259       08/04/23 Page 26 of 30




   G. THERE IS NO BASIS TO OVERRULE THE JURY’S ALLOCATION OF LIABILITY

       A substantial amount of evidence was introduced demonstrating Defendants’ liability.

These facts are briefed supra and include the overall failure of Defendants to plan, supervise, and

perform their duties in a reasonable manner. Moreover, the jury's partial allocation of fault to both

parties suggests that they considered and accounted for the credible and relevant testimony in

determining fault. Moreover, while “[Defendants] complain[] that the allocation is lopsided in

favor of [Plaintiff]…that is not enough to overrule the jury's allocation of liability.” Johnston v.

Char-Broil, LLC, 622 F. Supp. 3d 317, 329 (N.D. Tex. 2022). The jury's verdict (later adopted by

the Court) was in accordance with the weight of the credible evidence and represents a reasoned

decision which should not be discarded and replaced simply because Defendants are not happy

with the net amount of the verdict. The jury considered the evidence and arguments Defendants

presented and rejected them.

   H. THE ARGUMENTS MADE DURING PLAINTIFF’S CLOSING WERE FACTUAL

       The Fifth Circuit has explained that “improper comments by counsel will not warrant

reversal unless they so permeate the proceedings that, in the light of all evidence presented,

manifest injustice would result if the court allowed the verdict to stand.” Verdin v. Sea-Land Serv.,

8 F.3d 21, at *3 (5th Cir. 1993) (emphasis added). In other words, “the conduct must be such as

to gravely impair the calm and dispassionate consideration of the case by the jury.” Dixon v. Intl.

Harvester Co., 754 F.2d 573, 585-86 (5th Cir. 1985); see also United States v. Blevins, 555 F.2d

1236, 1240 (5th Cir. 1977) (to warrant a new trial, “[t]he [improper attorney] conduct [must have]

been of such an extreme nature that an instruction to the jury could not effectively remedy the

damage”).
     Case 3:20-cv-00092-BAJ-EWD            Document 259         08/04/23 Page 27 of 30




      Plaintiff’s counsel stated facts:

Content of Statement                              Facts Supporting

Captain Haglund decision to not document          Captain Haglund stating the JSA was verbally
JSA’s because they would still be at the rig      done and that if they documented everything
right now and references to his outbursts of      “We’d still be sitting at that rig now.”
anger.                                            See Exhibit 11 at 38:9-40:8 (Captain Haglund
                                                  Deposition). Commander Lebsack referenced
                                                  this exchange in his testimony. See Trial
                                                  Transcript Day 2 at 306:13-23. Moreover,
                                                  Defendants cannot honestly claim Captain
                                                  Haglund was not angry during his deposition.
                                                  He was rude, combative, and made frequent
                                                  outbursts that startled the jurors. Defendants
                                                  chose to show that side of Captain Haglund to
                                                  the jury.
Plaintiff’s relationship with his children has    Plaintiff testified at length about how the
been impacted, which is evidence of how the       Incident has affected his life and his
Incident has affected his life.                   relationship with his children. See Trial
                                                  Transcript Day 3 at 168-170.
Responses to Defendants arguments blaming         The jury heard a substantial amount of
Plaintiff.                                        evidence about the protections in place for
                                                  seamen like Plaintiff from Commander
                                                  Lebsack. See Trial Transcript Day 2 at p. 290,
                                                  291, 293, and 316. His testimony included
                                                  how you must protect mariner safety and do
                                                  what you can to prevent illness and injury. Id.
                                                  Moreover, the jury heard how Plaintiff was
                                                  trying to protect the offshore workers that were
                                                  being transported off the vessel during the
                                                  Incident and how Plaintiff was endeavoring to
                                                  prevent them from getting hurt. Id. at 22:22-
                                                  23:15.
The number of people that need to get hurt        Early on, REC Marine decided it was not going
until before Defendants ensure proper             to meaningfully investigate the Incident. In
investigations designed at reveal the truth are   fact, there is direct and/or circumstantial
conducted; Defendants will continue hurting       evidence that REC Marine conceal the truth by
people and nothing has made them change           denying knowing about the Incident for nearly
their ways; they will keep hurting people, the    two months, having Plaintiff complete a
jury has the power to change this behavior.       second report for an unrelated incident, the
                                                  disappearance of boat logs, the refusal to
                                                  contact eyewitnesses. See Trial Transcript Day
                                                  3 at 26:16-25; see also Facts Section at p.4
                                                  regarding Mr. Harris’ attempt to cover up the
                                                  Incident.
      Case 3:20-cv-00092-BAJ-EWD               Document 259        08/04/23 Page 28 of 30




                                                      Refusing to take reasonable steps to learn the
                                                      facts is the same as putting your head in the
                                                      sand.

                                                      Moreover, Defendants will not change their
                                                      ways. Mr. Harris testified the company will
                                                      not follow its own safety policies. Mr. Harris
                                                      testified REC Marine had no plan to reinstate
                                                      Plaintiff’s maintenance and cure (which
                                                      obviously results in more harm to Plaintiff).
 The injuries sustained by Plaintiff as a result of   As testified by Commander Lebsack, REC
 the Incident should have been reported to the        Marine was required to report the Incident to
 Coast Guard.                                         the Coast Guard using Coast Guard Form
                                                      2692. See Trial Transcript Day 2 at 321:15-
                                                      322:7, 327:8-22, and 329:2-17. The Court
                                                      permitted questions about the standard. Id. at
                                                      326:9-13. In closing, the following remarks
                                                      related to the Coast Guard policy violated by
                                                      REC Marine was as follows: “There is industry
                                                      customs and practice that require them to
                                                      report it and Coast Guard requirements that
                                                      require them to report it. None of that was
                                                      enough for them to report this.” See Trial
                                                      Transcript Day 5 at 86:3-6. There was no
                                                      argument that Defendants consistently violate
                                                      Coast      Guard     reporting    requirements.
                                                      However, Defendants do consistently violate
                                                      their own policies.
 Plaintiff provided ample evidence he was not         Plaintiff (a) only went to the doctor two times
 permanently injured as a result of the 2013 car      and received a medical release and was fit for
 crash.                                               duty; (b) testified that he had never seen the
                                                      lawsuit filed in connection with the 2013 car
                                                      crash before it was filed; (c) provided
                                                      uncontroverted testimony that he worked for
                                                      five (5) years after the 2013 crash and had no
                                                      issue performing his duties.         See Trial
                                                      Transcript Day 3 at p. 137, 138, and 215. A far
                                                      greater amount of the evidence showed
                                                      Plaintiff was not permanently injured as a
                                                      result of the 2013 car crash.

       None of the arguments made by counsel gravely impaired the calm and dispassionate

consideration of the case by the jury and none were of such an extreme nature that could not

effectively remedied with an instruction. Defendants' complaints as to Plaintiff’s arguments are at
      Case 3:20-cv-00092-BAJ-EWD               Document 259        08/04/23 Page 29 of 30




best a disagreement with the conclusions reached from the facts. Further, jury instructions, such

as those in the Fifth Circuit's Pattern Jury Instructions, advising that attorney arguments are not

evidence and that the jury should not be affected by bias or prejudice, weigh against a finding of

prejudice. See Guar. Ser. Corp. v. Am. Employers' Ins. Co., 893 F.2d 725, 728-29 (5th Cir. 1990)

(arguments invoking “conscience of the community” were not prejudicial given instruction to jury

that statements of counsel are not evidence); Nissho-Iwai, 848 F.2d at 620 (noting that the court

instructed the jury that attorney argument is not evidence and that the jury should not be swayed

by prejudice or emotion).

       Moreover, Defendants chose not to object to any of the arguments made at trial. Under

such circumstances the court reviews only for “plain error.” See McLendon v. Big Lots Stores,

Inc., 749 F.3d 373, 375 (5th Cir. 2014). Plain error exists when a party demonstrates “(1) that an

error occurred; (2) that the error was plain, which means clear or obvious; (3) the plain error must

affect substantial rights; and (4) not correcting the error would ‘seriously affect the fairness,

integrity or public reputation of judicial proceedings.”’ Leonard v. Gautreaux, 2000 WL 634647,

at *2 (5th Cir. 2000) (quoting Highlands Ins. Co. v. National Union Fire Ins. Co. of Pittsburgh,

27 F.3d 1027, 1031-32 (5th Cir. 1994)). When analyzing whether attorney comments affected a

party's substantial rights under plain error review, “the central issue for th[e] court is ‘whether the

[attorney's] remarks cast serious doubt on the correctness of the jury's verdict.”’ United States v.

Rashad, 687 F.3d 637, 643 (5th Cir. 2012); accord McLendon, 749 F.3d at 375. Plain error review

is not concerned with “the ordinary backfires—whether or not harmful to a litigant's cause—which

may mar a trial record. The doctrine focuses…only on blockbusters: those errors so shocking that

they seriously affect the fundamental fairness and basic integrity of the proceedings ...” United

States v. Griffin, 818 F.2d 97, 100 (1st Cir. 1987).
         Case 3:20-cv-00092-BAJ-EWD               Document 259        08/04/23 Page 30 of 30




          There is no “plain error.” Plaintiff presented the jury with hundreds of thousands in

general/compensatory damages and evidence supporting the jury’s punitive damage award (which

was $1.5 million less than what was asked for by Plaintiff.

                                    III.    CONCLUSION & PRAYER

          Plaintiff respectfully requests that the Court DENY Defendants’ Motion and for all other

relief Plaintiff is entitled.



                                                          Respectfully submitted,

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24
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